                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 GLENN WHITING,                                  )
                                                 )        Case No. 3:23-cv-2
          Plaintiff,                             )
                                                 )        Judge Travis R. McDonough
 v.                                              )
                                                 )        Magistrate Judge Debra C. Poplin
 CITY OF ATHENS, et al.,                         )
                                                 )
          Defendants.                            )
                                                 )
                                                 )
                                                 )


                                             ORDER


         Before the Court are Defendants’ motions for attorney fees (Docs. 220, 222, 231) and

Defendants City of Athens, Brandon Ainsworth, and Deb Cardin’s motion for Rule 11 sanctions

(Doc. 233). For the following reasons, the Court will GRANT Defendant Perkinson, Sumner,

and Sliger’s motions for attorney fees (Docs. 220, 222), as well as the motion for Rule 11

sanctions. (Doc. 233.) The remaining Defendants’ motion (Doc. 231) will be GRANTED IN

PART and DENIED IN PART.

         I.      BACKGROUND

         Defendant City of Athens, Tennessee (“the City”) has traditionally hosted a fireworks

event on July 4th every year (“the Event”). (See Doc. 221, at 1.) In 2022, the City decided to

limit attendance at the Event to city employees, their family members, and their invitees. (Id.)

City council member Dick Pelley “publicly opposed the exclusion of the general public, and he

gave his ticket to the Plaintiff Glenn Whiting to attend the event.” (Id.) Plaintiff attended the

Event to record it so that he could “show the fact that [the Picnic] is wrong” and should have

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been open to the general public. (Doc. 211, at 1.) When Plaintiff arrived at the Event, he

interacted with several individuals, some of whom were city employees. (Id. at 2.) Some of

these individuals confronted Plaintiff when he appeared to be recording their children. (Id. at 2–

3.) All resistance these individuals expressed toward Plaintiff focused solely on preventing him

from videoing children; no one discouraged him from otherwise livestreaming the Event.1 (Id. at

2.)

         Plaintiff filed this suit on January 3, 2023, naming thirty-three defendants. (Doc. 1.) On

March 29, 2023, Plaintiff filed his first amended complaint, asserting claims for: (1) First

Amendment retaliation and prior restraint under 18 U.S.C. § 1983; (2) defamation; (3) assault;

(4) battery; and (5) intentional infliction of emotional distress (“IIED”). (Doc. 31, at 11–19.)

After some claims and Defendants were dismissed from the case (see Docs. 108, 113), the

remaining Defendants moved for summary judgment (Docs. 161, 163, 167). The Court granted

summary judgment to Defendants on Plaintiff’s First Amendment claims, and declined to

exercise jurisdiction over Plaintiff’s remaining state-law claims on June 14, 2024. (Docs. 211–

12.)

         Defendants timely filed the present motions for attorney fees and Rule 11 sanctions, and

Plaintiff responded in opposition. (Docs. 220, 222, 231, 233, 251.) Defendants assert that they

are entitled to attorney fees under 42 U.S.C. § 1988, Tennessee Code Annotated § 29-20-113, 28

U.S.C. § 1927, and Rule 11 of the Federal Rules of Civil Procedure. However, due to

deficiencies in the material supporting the amount of fees Defendants requested, the Court

ordered supplemental briefing on November 5, 2024. (Doc. 263.) Defendants filed supplements



1
 For a further description of the factual background surrounding the incident on July 4, 2022,
see Doc. 211, at 1–5.

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in accordance with the Court’s order (Docs. 264, 265, 266), and their motions for attorney fees

are ripe for review.

       II.     STANDARD OF LAW

               A. 42 U.S.C. § 1988

       Pursuant to 42 U.S.C. § 1988, “in any action to enforce a provision of” § 1983, “the

court, in its discretion, may allow the prevailing party” a “reasonable attorney’s fee as part of the

costs.” 42 U.S.C. § 1988(b). Recovery under this statute is the default for a prevailing § 1983

plaintiff; the United States Supreme Court has directed that a “prevailing plaintiff should

ordinarily recover an attorney’s fees unless special circumstances would render such an award

unjust.” Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (internal quotations and citations

omitted). However, a prevailing party can be either a defendant or a plaintiff. Christiansburg

Garment Co. v. EEOC, 434 U.S. 412, 420 (1978) (holding that § 1988 authorizes a fee award to a

prevailing defendant, who should also be protected “from burdensome litigation having no legal

or factual basis”). Under § 1988, “[a] prevailing defendant should only recover upon a finding

by the district court that the plaintiff’s action was frivolous, unreasonable, or without foundation,

even though not brought in subjective bad faith.” Wolfe v. Perry, 412 F.3d 707, 720 (6th Cir.

2005) (quoting Wayne v. Village of Sebring, 36 F.3d 517, 530 (6th Cir. 1994)). Additionally,

§ 1988 does not allow for the recovery of attorney fees related to state-law claims. Ash v.

Bezotte, No. 10-11875, 2013 WL 4777176, at *3 (E.D. Mich. Sept. 5, 2013).

       In adjudicating a defendant’s request for attorney fees pursuant to 42 U.S.C. § 1988, the

Court should determine whether: (1) the defendant is a “prevailing party”; (2) the plaintiff’s

action was frivolous, unreasonable, or without foundation; (3) the compensation sought is

reasonable, as assessed by the lodestar method; and (4) there are any exceptional considerations



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requiring an upward or downward adjustment. See Hensley, 461 U.S. at 433–34; Wolfe, 412 F.3d

707 at 720. The lodestar method requires a court to multiply the number of hours reasonably

expended by the applicable hourly market rate for legal services to find an objective basis for a

lawyer’s services. Blum v. Stenson, 465 U.S. 886, 896 n.11 (1984). There is a strong

presumption that the lodestar figure is reasonable, but a court should scrutinize the amount to

ensure it does not produce windfalls to attorneys. Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542,

554 (2010); Hadix v. Johnson, 65 F.3d 532, 535 (6th Cir. 1995).

               B. Tennessee Code Annotated § 29-20-113

        To be entitled to attorney fees under Tennessee Code Annotated § 29-20-113, a Tennessee

local-government employee must prevail on his individual-capacity claim. Tenn. Code Ann.

§ 29-20-113(a). The statute defines “prevailing party” broadly: “a government employee is

deemed a prevailing party . . . so long as he asserts in his answer, at least forty-five days before

the dismissal, that he was not acting in his individual capacity.” Ogle v. Jones, No. 3:20-cv-293,

2024 WL 2224328, at *3 (E.D. Tenn. May 16, 2024) (citing § 29-20-113(b)(2)). Thus, the statute

imposes three procedural requirements before a government-employee defendant can be

characterized as a prevailing party under the statute: (1) the plaintiff’s individual-capacity claim

is dismissed; (2) the government employee’s answer or responsive pleading asserts that he was

not acting in his individual capacity as to the claims alleged; and (3) the dismissal occurs at least

forty-five days after the government employee filed the answer or responsive pleading. Id. If

these requirements are met, a Tennessee government employee is entitled to attorney fees under

the statute.




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               C. 28 U.S.C. § 1927

       Title 28 U.S.C. § 1927 also authorizes a district court to award attorney fees as a sanction

against a lawyer for “unreasonably and vexatiously” multiplying the proceedings in any case. To

award fees pursuant to § 1927, the court must find that counsel’s conduct “objectively falls short

of the obligations owed by a member of the bar to the court and which, as a result, causes

additional expense to the opposing party.” Milner v. Biggs, No. 13–3486, 2014 WL 1910550, at

*3 (6th Cir. May 13, 2014) (quoting Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater,

465 F.3d 642, 646 (6th Cir.2006)). An award of fees pursuant to § 1927 requires a showing of

“more than negligence or incompetence” but “less than subjective bad faith.” Id. (quoting Hall

v. Liberty Life Assurance. Co. of Boston, 595 F.3d 270, 276 (6th Cir. 2010)). An attorney’s

conduct is sanctionable under the statute “when [he] intentionally abuses the judicial process or

knowingly disregards the risk that [his] actions will needlessly multiply proceedings, or when he

knows or reasonably should know that a claim pursued is frivolous[.]” Jones v. Hamilton Cnty.,

Ohio, No. 23-3002, 2023 WL 7391704, at *3 (6th Cir. Nov. 8, 2023), cert. denied sub nom.

Jones v. McKeague, 144 S. Ct. 1098 (2024) (internal quotations and citations omitted). The

purpose of awarding fees pursuant to this statute is to “deter and punish those who abuse the

judicial process.” Dean’s Cards, LLC v. Perlstein, No. 1:13-cv-912, 2014 WL 3793575, at *2

(S.D. Ohio July 31, 2014). An attorney subject to sanctions under § 1927 is “required to

personally satisfy the excess costs attributable to his misconduct.” Red Carpet, 465 F.3d at 646.

Additionally, “Section 1927 authorizes a court to sanction an attorney from the point in time

when the attorney’s pursuit of . . . claims became unreasonable and vexatious.” Williams, 2019

WL 490354 at *4 (quoting Carter v. Hickory Healthcare Inc., No. 5:14CV2691, 2017 WL

1711043, at *2 (N.D. Ohio May 3, 2017) (internal quotations omitted). A court has “broad



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discretion” when considering an award of sanctions under § 1927. See El-Khalil v. Tedeschi,

No. 18-12759, 2023 WL 5827666, at *8 (E.D. Mich. Sept. 8, 2023) (citation omitted).

               D. Rule 11 Sanctions

       Rule 11(b) of the Federal Rules of Civil Procedure states:

               By presenting to the court a pleading, written motion, or other paper--
               whether by signing, filing, submitting, or later advocating it--an attorney
               or unrepresented party certifies that to the best of the person’s knowledge,
               information, and belief, formed after an inquiry reasonable under the
               circumstances:

               (1) it is not being presented for any improper purpose, such as to harass,
                   cause unnecessary delay, or needlessly increase the cost of litigation;

               (2) the claims, defenses, and other legal contentions are warranted by
                   existing law or by a nonfrivolous argument for extending, modifying,
                   or reversing existing law or for establishing new law;

               (3) the factual contentions have evidentiary support or, if specifically so
                   identified, will likely have evidentiary support after a reasonable
                   opportunity for further investigation or discovery; and

               (4) the denials of factual contentions are warranted on the evidence or, if
                   specifically so identified, are reasonably based on belief or a lack of
                   information.

If a court finds that a party violated Rule 11(b), the court may impose sanctions upon the

violating party after the party is given notice and reasonable opportunity to respond. Fed. R. Civ.

P. 11(c)(1). A motion for sanctions under Rule 11 “must be made separately from any other

motion and must describe the specific conduct that allegedly violates Rule 11(b).” Fed. R. Civ.

P. 11(c)(2). Rule 11(c) provides a safe harbor which requires “the moving party to serve its

motion for sanctions on the opposing party twenty-one (21) days before actually filing or

presenting the motion to the court.” Liberty Legal Found. v. Nat’l Democratic Party of the USA,

Inc., No. 12-2143-STA, 2012 WL 3683492, at *3 (W.D. Tenn. Aug. 24, 2012). This allows the

opposing party a “respite in which to cure the alleged violation of Rule 11(b).” Id.

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       Substantively, “Rule 11 imposes a duty on attorneys to certify that they have conducted a

reasonable inquiry and have determined that any papers filed with the court are well-grounded in

fact, legally tenable, and not interposed for any improper purpose.” Cooter & Gell v. Hartmarx

Corp., 496 U.S. 384, 393 (1990) (internal quotation omitted). An attorney’s duty to conduct a

reasonable inquiry into the basis of his client’s claims is continuing. Herron v. Jupiter Transp.

Co., 858 F.2d 332, 336 (6th Cir. 1988). If a party or attorney discovers that a claim, pleading, or

motion no longer holds merit, it must be dismissed, or the offending party continues at “the risk

of inviting the imposition of Rule 11 sanctions.” Id. When evaluating whether to impose

sanctions for a violation of Rule 11, a court may consider:

       Whether the improper conduct was willful, or negligent; whether it was part of a
       pattern of activity, or an isolated event; whether it infected the entire pleading, or
       only one particular count or defense; whether the person has engaged in similar
       conduct in other litigation; whether it was intended to injure; what effect it had on
       the litigation process in time or expense; whether the responsible person is trained
       in the law; what amount, given the financial resources of the responsible person, is
       needed to deter that person from repetition in the same case; what amount is needed
       to deter similar activity by other litigants.

Fed. R. Civ. P. 11 Advisory Notes.

       III.    ANALYSIS

       Defendants have filed three separate motions for attorney fees, as well as a motion for

Rule 11 sanctions. The Court will first consider all claims for attorney fees under Tennessee

Code Annotated § 29-20-113, and then evaluate the additional arguments in each motion.2



2
  Plaintiff filed a motion in response to Defendants’ motions for attorney fees (Doc. 251). While
Plaintiff’s response is difficult to follow, it appears Plaintiff’s only argument is that some of the
motions were untimely. (See id. at 4.) The Court granted all Defendants, except Bo Perkinson
and Seth Sumner, an extension of time to file their motions for attorney fees. (Doc. 219.)
Defendants Perkinson and Sumner timely filed their motion within the deadline imposed by
Federal Rule of Civil Procedure 54(d)(2)(B). (See Doc. 220.) The remaining Defendants filed
their motions within the deadline established by the Court. (See Docs. 219, 222, 231, 233.)

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           A. Tennessee Code Annotated § 29-20-113

       Defendants Sumner, Perkinson, Ainsworth, Cardin, Garland, and Seth Walker all move

for attorney fees under § 29-20-113. (See Doc. 220; Doc. 231, at 12.) The Court finds that none

is entitled to recover under § 29-20-113 in this suit, because the Court declined to exercise

jurisdiction over Plaintiff’s state-law claims.

       The Court granted these Defendants summary judgment on Plaintiff’s federal claims.

(See Doc. 211, at 1, 18–19.) It then declined to exercise jurisdiction over Plaintiff’s state-law

claims and dismissed them without prejudice. (See id. at 15–16.) “Federal courts must generally

apply state law regarding attorney fees to a state law claim pendent to a federal claim.” Shimman

v. Int’l Union of Operating Eng’rs, Loc. 18, 744 F.2d 1226, 1237 n.17 (6th Cir. 1984) (citing

Alyeska Pipeline Service Co. v. Wilderness Society, 421 U.S. 240, 259 n.31 (1975)). Here,

however, the Court declined to exercise pendent jurisdiction over Plaintiff’s state-law claims, and

it will not now exercise jurisdiction over these claims to determine if a state statute dictates an

award of attorney fees. Section 29-20-113 applies to dismissals without prejudice, but in

refusing to exercise supplemental jurisdiction over Plaintiff’s state-law claims, the Court has

ultimately declined to consider any issues pertaining to these claims, including the issue of

attorney fees. “Jurisdiction is power to declare the law, and when it ceases to exist, the only



Plaintiff also filed a response to Defendants’ supplemental briefs. (See Doc. 276.) The Court
will decline to consider Plaintiff’s attempts to argue the merits of Defendants’ motions for
attorney fees in his supplemental briefing, as he forfeited this opportunity by not raising such
arguments in opposition to Defendants’ motions. (See Doc. 251); Bryant v. Nease, No. 5:17-CV-
280-JMH, 2017 WL 8640928, at *1 (E.D. Ky. Nov. 16, 2017) (“By failing to timely respond . . .
Plaintiff waives opposition to the motion.”) (citations omitted); E.D. Tenn. L.R. 7.2 (“Failure to
respond to a motion may be deemed a waiver of any opposition to the relief sought.”). The
Court will consider Plaintiff’s opposition in supplemental briefing to matters raised in
Defendants’ supplements only.

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function remaining to the court is that of announcing the fact and dismissing the case.” Loren v.

Blue Cross & Blue Shield of Mich., 505 F.3d 598, 607 (6th Cir. 2007) (quoting Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 94 (1998)). “Without jurisdiction the court cannot

proceed at all in any cause.” Steel Co., 523 U.S. at 94 (quoting Ex parte McCardle, 19 L.Ed. 264

(1868)). The Court declined to exercise further jurisdiction over Plaintiff’s state-law claims (see

Doc. 211, at 15–16), and, as such, it will not consider Defendants’ request for attorney fees

pertaining to these claims under § 29-20-113.3 Any fees sought under § 29-20-113 will be

DENIED.

           B. Defendants Sumner and Perkinson

       Defendants Sumner and Perkinson argue that they are entitled to attorney fees under 42

U.S.C. § 1988. (Doc. 221, at 3.) The Court agrees. Sumner and Perkinson prevailed on the

merits, as the Court granted them summary judgment as to Plaintiff’s federal claims. (See Doc.

211.) Plaintiff’s federal claims against them were also frivolous.

       Sumner and Perkinson were not present for the Event that gave rise to Plaintiff’s suit.

(Doc. 221, at 2.) Plaintiff’s First Amendment claims against Sumner and Perkinson were

centered around a belief that they told others that Plaintiff intended to video children at the Event

for “prurient purposes.” (Doc. 31, at 4–5.) However, Plaintiff had no evidence to support this



3
  The Court will also deny Defendants any attorney fees under § 29-20-113 for Plaintiff’s federal
claims. While it is unclear whether any Defendants seek to recover under § 29-20-113 for
federal claims (see Doc. 234, at 13–15; Doc. 221, at 6–7), to the extent they do, § 1988 governs
the attorney-fees inquiry because Plaintiff brought his claims under § 1983. See Chambers v.
NASCO, Inc., 501 U.S. 32, 52 (1991) (explaining that a state-law statute governing the recovery
of attorney fees would apply only if it does not “run counter to a valid federal statute”); Williams
v. Shelby Cnty. Sch. Sys., No. 217CV02284TLPCGC, 2019 WL 490354, at *7 (W.D. Tenn. Feb.
7, 2019), aff’d, No. 19-5238, 2020 WL 1190433 (6th Cir. Mar. 12, 2020) (“Tennessee Code
Annotated § 29-20-113 will be applied here only if it reflects a substantive policy of the State
and does not interfere with a valid federal statute or court rule.”).

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belief. (See Doc. 221, at 2.) Plaintiff’s former counsel, Van Irion,4 explained that Plaintiff

intended to rely on res ipsa loquitor to show that Sumner and Perkinson made these statements.

(Doc. 121, at 51–52.) As the Court noted before, res ipsa loquitor was inapplicable to Plaintiff’s

First Amendment retaliation claim. (Doc. 113, at 14 n.7.) While the Court found that Plaintiff’s

First Amendment claims were plausible enough to survive a motion to dismiss, it reminded

Plaintiff he had an obligation to produce evidence supporting his allegations. (Id.) In the end,

Plaintiff wholly lacked any evidence showing, or even plausibly suggesting, that Sumner and

Perkinson made these statements. (See Doc. 211, at 7.) Essentially, Plaintiff’s claims against

Sumner and Perkinson were based solely on unfounded speculation, and this does “not form a

foundation to support a claim.” See Bowman v. City of Olmsted Falls, 802 F. App’x 971, 975

(6th Cir. 2020) (affirming an award of attorney fees under 42 U.S.C. § 1988 when the plaintiff

failed to offer any proof in support of his claims at summary judgment). Christiansburg

Garment cautions that “a district court [should] resist the understandable temptation to engage in

post hoc reasoning by concluding that, because a plaintiff did not ultimately prevail, his action

must have been unreasonable or without foundation.” 434 U.S. at 421–22. However, the history

of this case, including the statements of Plaintiff’s counsel (Doc. 121, at 51–52) and Plaintiff’s

own testimony (Doc. 166, at 21–23) convincingly demonstrate an appreciation from the outset

that the claims against Sumner and Perkinson lacked merit. Plaintiff’s claims against Sumner

and Perkinson were entirely “without foundation.” See Christiansburg Garment, 434 U.S. at 420

(internal citation and quotations omitted); Bowman, 802 F. App’x at 975 (“Mere speculation and

intuition do not form a foundation to support a claim.”).5


4
    Irion withdrew as Plaintiff’s counsel on February 13, 2024. (Doc. 138.)
5
 For an illustration of the difference between claims with foundation and those without, compare
Bowman, 802 F. App’x 971, with Canning v. Poole, No. CIV. 10-16-GFVT, 2013 WL 5217646
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       The Court finds that fees Sumner and Perkinson request are reasonable. They argue that

the hourly rates charged by their attorneys “are in line with or are below prevailing market rates

for civil rights litigation in the Eastern District of Tennessee.” (See Doc. 221, at 8–9). Sumner

and Perkinson request fees at $162 per hour for Laura Beth Rufolo and Aaron Wells, and at $190

per hour for Keith Grant. (Doc. 221, at 8.) They explain that the rate for Rufolo and Wells is

lower because Rufolo “does not routinely litigate civil rights cases” and Wells is “an associate”

rather than a partner at their firm. (Id.) The Court has found rates of $250 per hour and greater

to be reasonable for similar cases. See, e.g., Wimley v. Matheny, No. 4:06-CV-72, 2008 WL

5130162 (E.D. Tenn. Dec. 3, 2008) (finding rates of $250 and $300 per hour reasonable for

attorneys defending against a § 1983 suit). Accordingly, it finds the hourly rate reasonable here.

Additionally, the total number of hours worked (312.6 hours) appears reasonable considering the

work these attorneys completed. (See Doc. 221, at 8; Doc. 220-2.) In accruing roughly 312

hours, the attorneys (1) represented Sumner and Perkinson for over a year and a half (see Doc.

220-2, at 1, 41), (2) prepared two dispositive motions (see Docs. 40, 167), and (3) expended a

significant amount of time in reviewing the filings from the many parties to this case (see Doc.

220-2). Plaintiff also raised more allegations against Sumner and Perkinson than most other

Defendants in this case (see Doc. 31), suggesting that relatively more work would have been

expended in their defense. Considering that the attorneys’ rate and hours billed are both




(E.D. Ky. Sept. 13, 2013) (holding that a plaintiff’s claims were not baseless when she personally
observed the events giving rise to the claims, even if the defendant prevailed at summary
judgment), and Smith v. Smythe-Cramer Co., 754 F.2d 180, 186 (6th Cir. 1985) (holding that the
plaintiffs’ claims were not frivolous when “[t]hey were supported by some evidence”).

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objectively reasonable, the Court finds that Sumner and Perkinson have satisfied the lodestar

analysis, and it does not find an extraordinary adjustment is warranted.6

        The Court finds that the fees Sumner and Perkinson request are reasonable, and as such,

the Court will GRANT their motion for attorney fees under § 1988.

            C. Defendant Sliger

        Defendant Sliger moves for attorney fees under 42 U.S.C. § 1988.7 (Doc. 223.) The

Court finds he is entitled to fees.

        Defendant Sliger meets the requirements of § 1988. First, he prevailed on Plaintiff’s First

Amendment claims. (See Doc. 211.) Plaintiff’s First Amendment claims against him were also

frivolous. Plaintiff brought his First Amendment claims under 18 U.S.C. § 1983, and, as such,

Plaintiff was required to prove that Sliger was acting under the color of state law to bring a

meritorious claim. (Doc. 31, at 11–12); West v. Atkins, 487 U.S. 42, 48 (1988). However, Sliger

asserted in his amended answer that he has not been an employee for the City since 2016. (Doc.

111, at 2.) Sliger notified Plaintiff of this before including it in his amended answer. (See Doc.

223, at 1.) In response, Plaintiff amended his complaint to allege that Sliger was a former

employee of the City but continued to pursue his § 1983 claims against Sliger. (See Doc. 31, at

2, 11–12.) When Sliger moved for summary judgment, Plaintiff produced no evidence that he, a

former employee of the City, was acting under the color of state law at the time of the Event.

(See Doc. 186.) Rather, Plaintiff argued that Sliger, as a former employee, was a participant in a

conspiracy orchestrated by city employees to deprive Plaintiff of his First Amendment rights.



6
 The Court will address reductions in the fee awards dictated by Fox v. Vice, 563 U.S. 826
(2011), in Section III.F.
7
 Defendant Sliger initially moved for fees under Tenn. Code Ann. § 29-20-113 as well but
withdrew this request. (See Doc. 259.)

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(See id. at 22, 24.) Additionally, Plaintiff “believed [Sliger] had authority within the park” where

the Event was held. (Id. at 25.) Again, there was no evidence suggesting the existence of a

conspiracy, nor any evidence suggesting Sliger had authority under state law. (See Doc. 211, at

9–11.) Plaintiff’s First Amendment claims against Sliger lacked any factual basis, and as such,

were frivolous.

       The hourly rate and the number of hours for which Sliger’s counsel billed are reasonable.

Sliger’s counsel charged $250 per hour (see Doc. 264-1, at 2), a rate which the Court has

approved before. See, e.g., Wimley, 2008 WL 5130162. The amount of time Sliger’s counsel

expended in defending against these claims is also reasonable. Sliger’s counsel billed for 38.9

hours.8 (See Doc. 222-1, at 1–2.) In billing this time, Sliger’s counsel (1) prepared a motion for

summary judgment (see Doc. 163), (2) responded to a motion for judgment on the pleadings (see

Doc. 95), (3) participated in depositions (see Doc. 222-2, at 1), and (4) prepared materials for

trial (see id. at 1–2). The Court finds that 38.9 hours is reasonable for these services.

Accordingly, the Court will GRANT Defendant Sliger’s motion.

           D. Remaining Defendants

       Twenty-five of the original thirty-three Defendants also move for attorney fees under 42

U.S.C. § 1988 and 28 U.S.C. § 1927. (Doc. 234, at 6–13.) Some of these Defendants also move

for attorney fees under Tennessee Code Annotated § 29-20-113. (Id. at 13–15.)




8
 Sliger’s counsel offered updated billing records in response to the Court’s order requiring
supplemental materials (see Docs. 263, 264), but the Court finds that these records did not
adequately comply with the dictates of Fox. See infra Section III.F. Accordingly, the Court
considers his first billing record here. (See Doc. 222-1.)
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               i.      Defendants Voluntarily Dismissed

       Plaintiff originally named thirty-three Defendants in this suit. Plaintiff was then notified

by counsel Dan Pilkington that sixteen of the original Defendants either “were not present at

Athens Regional Park on July 4, 2022” or were present at the Event but never interacted with

Plaintiff. (Doc. 231, at 5; Doc. 21; Doc. 22.) Plaintiff subsequently dismissed his claims against

these Defendants without prejudice. (Doc. 231, at 5; Doc. 21; Doc. 22.) These Defendants move

for attorney fees under § 1988 and § 1927.9 (Doc. 231, at 5.) The Court finds that these

Defendants are not entitled to attorney fees under § 1927 or § 1988.

       A plaintiff or defendant must be a prevailing party to recover attorney fees under § 1988.

See Hensley, 461 U.S. at 433. “A party is ‘prevailing’ when it achieves a ‘material alteration of

the legal relationship of the parties.’” Doe v. Univ. of Michigan, 78 F.4th 929, 950 (6th Cir.

2023) (quoting Sole v. Wyner, 551 U.S. 74, 82 (2007)). A party’s victory “must create a lasting

change in the legal relationship between the parties.” Id. at 951 (quoting McQueary v. Conway,

614 F.3d 591, 601 (6th Cir. 2010) (internal quotations omitted). “This change must have been

ordered by the court, rather than achieved ‘because the lawsuit brought about a voluntary change

in the defendant’s conduct.’” Id. (quoting Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep’t of

Health & Hum. Res., 532 U.S. 598, 601 (2001)).

       The Court finds that Defendants voluntarily dismissed from this suit do not meet the

definition of a prevailing party. Here, these Defendants were voluntarily dismissed without

prejudice. (See Docs. 21, 22.) As such, this proceeding produced no lasting change in their legal



9
 These sixteen Defendants include: Jackson Ingram, Christopher Smith, Jason Fling, Clara
Kirksey, Dexter Miller, Dustin Martin, Joshua Fulbright, Christopher Lillard, Ronald Nipper,
Robert Moses, Robert Evans, Dave Albertson, Enoch Dixon, Casey Moses, Joshua Roach and
Jonathan Parrott. (Doc. 231, at 4.)

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relationship with Plaintiff, as he may file suit against them again, assuming no statutory

limitations period. Further, the Court played no part in the dismissal. Thus, even if the voluntary

dismissal did create a lasting change in the legal relationship between the parties, Defendants

would still not be prevailing parties for the purposes of § 1988. See Doe, 78 F.4th at 951.

Defendants cannot recover fees under § 1988.

       The Court also finds that Defendants are not entitled to fees under § 1927. Plaintiff’s

former counsel filed suit against these Defendants even though they never interacted with

Plaintiff at the Event; some were not even present. (See Docs. 21–22.) Plaintiff attached a video

to his original complaint that he took at the Event, and this video captures the interactions on

which he based his suit. (See Doc. 1-5.) Thus, with reasonable investigation (simply watching

the video), Plaintiff and his counsel could have identified the individuals who interacted with

Plaintiff at the Event. Nonetheless, Plaintiff filed suit against sixteen individuals who never

spoke to Plaintiff. Plaintiff’s counsel’s conduct in bringing suit against these Defendants falls

short of his professional obligations. See Blue v. U.S. Dep’t of Army, 914 F.2d 525, 543 (4th Cir.

1990) (explaining that “counsel cannot simply rely on a client’s patently incredible testimony

when any reasonable investigation of the factual bases for the client’s claims or examination of

materials obtained in discovery would reveal the paucity and implausibility of the evidence”);

Tenn. Sup. Ct. Rules, Rule 8, RPC 3.1 (“A lawyer shall not bring or defend a proceeding, or

assert or controvert an issue therein, unless after reasonable inquiry the lawyer has a basis in law

and fact for doing so that is not frivolous, which includes a good faith argument for an extension,

modification, or reversal of existing law.” (emphasis added)).

       However, Plaintiff voluntarily dismissed these Defendants shortly after filing his

complaint. (See Docs. 21, 22.) The Court finds sanctions against Plaintiff’s former counsel



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unwarranted considering this corrective action, as it minimized these Defendants’ involvement in

the case. As such, it declines to award these Defendants fees under § 1927.10 Defendants’

request for fees is DENIED.

                  ii.   Defendants Ramsey and Key

        Defendants Chad Ramsey and Quintin Key move for attorney fees under § 1988 and §

1927. (Doc. 231, at 8.) The Court finds that Ramsey and Key are not entitled to fees under

either statute.

        Ramsey and Key are unable to recover under § 1988 because Plaintiff voluntarily

dismissed them from the suit without prejudice. (See Doc. 72.) As with the other Defendants

voluntary dismissed without prejudice in this suit, Ramsey and Key’s legal relationship with

Plaintiff is unchanged, as he could file suit against them again. Further, the Court took no part in

the dismissal. Accordingly, Ramsey and Key are not prevailing parties under § 1988, and they

cannot recover fees under the statute.

        Ramsey and Key are also not entitled to fees under § 1927. Again, Plaintiff and his

counsel failed to verify that Ramsey and Key were present at the Event before filing suit and

admitted as much to the Court. In response to the Court’s order (Doc. 38) requiring Plaintiff to

show cause for his failure to serve various Defendants within the timeline provided by Rule 4(m)

of the Federal Rules of Civil Procedure, Plaintiff stated that Key and Ramsey “may or may not

turn out to be the individuals appearing in [Plaintiff’s] video.” (Doc. 39, at 7.) Plaintiff and his



10
  Some courts have been reluctant to award fees pursuant to § 1927 on the basis of the complaint
alone. See, e.g., El-Khalil, 2023 WL 5827666 at *8–9 (declining to award fees under § 1927 for
meritless claims in a complaint); but see Bojicic v. DeWine, 714 F. Supp. 3d 913, 936 (N.D. Ohio
2024) (awarding fees under § 1927 when the plaintiffs filed a “frivolous and fruitless” complaint
with no legal basis). The Court finds this approach informative here, considering the short
length of time these Defendants were involved in the suit before being voluntarily dismissed.

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counsel failed to determine whether Ramsey and Key were proper Defendants before filing the

complaint, and over four months later, they still had not conducted a sufficient investigation to

verify whether Ramsey and Key were proper parties. (See Docs. 1, 39.) However, Plaintiff

voluntarily dismissed them from the suit thereafter. (See Doc. 72.) As a result, Ramsey and Key

did not have to litigate this case on the merits. As with the other Defendants voluntarily

dismissed, the Court finds that sanctions are unwarranted due to this corrective action. Ramsey

and Key are not entitled to fees under § 1927, and their request for attorney fees is DENIED.

               iii.    Defendant Gable

       Defendant Gable moves for attorney fees under § 1988 and § 1927. (Doc. 231, at 10.)

Gable is not entitled to fees under either statute.

       Gable cannot recover fees under § 1988, because he is not a prevailing party. Gable filed

a motion to dismiss for Plaintiff’s failure to properly serve him. (See Doc. 85.) Plaintiff did not

oppose the motion (see Doc. 94), and the Court granted it thereafter. (Doc. 108.) The context of

Gable’s dismissal is certainly distinguishable from Defendants voluntary dismissed from the suit.

Unlike those voluntarily dismissed, the Court played a role in Gable’s dismissal, and Gable filed

a motion seeking such relief. (See Docs. 85, 108.) However, the Court finds that Gable still fails

to qualify as a prevailing party. First, Gable was dismissed because Plaintiff failed to properly

serve him within the timeframe established by Federal Rule of Civil Procedure 4(m). (See Doc.

84, at 2.) As such, this dismissal was without prejudice. See Fed. R. Civ. P. 4(m). Further, the

Court offered no relief pertaining to the merits of Plaintiff’s claims. (See Doc. 108, at 5–6.)

Plaintiff remained free to file suit against Gable and the Court affected no lasting legal change

between Plaintiff and Gable. This dismissal, unrelated to the merits, does not make Gable a

prevailing party under § 1988. See Hewitt v. Helms, 482 U.S. 755, 760 (1987) (explaining that a



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party must “receive at least some relief on the merits of his claim before he can be said to

prevail” under § 1988). Accordingly, Gable cannot recover fees under § 1988.

        Gable is also not entitled to recover under § 1927. As with several other Defendants,

Plaintiff and his counsel failed to verify that Gable was a proper party before filing Plaintiff’s

complaint. Additionally, after the Court issued multiple show cause orders addressing Plaintiff’s

failure to serve multiple Defendants (Docs. 38, 42, 66), Plaintiff filed proof that he served Gable

on July 5, 2023, seven months after he filed his complaint. (See Docs. 1, 71.) However, Gable

filed a motion to dismiss on July 21, 2024, arguing that Plaintiff failed to properly serve him.

(Doc. 84.) Plaintiff did not oppose Gable’s dismissal. (See Doc. 94.)

        Again, the context surrounding Gable’s dismissal is distinguishable from Defendants who

were voluntarily dismissed. Plaintiff’s counsel’s conduct was more egregious, as Gable had to

file a motion to dismiss prior to his dismissal. (See Doc. 84.) As a result, Gable was a party to

the suit for longer, and Gable’s counsel expended more effort in his defense compared to

Defendants voluntarily dismissed. The Court still finds sanctions inappropriate under § 1927.

While Plaintiff’s refusal to oppose Gable’s motion to dismiss is not quite as redeeming as a

voluntary dismissal, considering the additional work that went into Gable’s motion,11 this

decision still minimized Gable’s involvement in the suit. Ultimately, Gable did not have to

litigate the case on its merits, much like those Defendants voluntarily dismissed. As such, the

Court will not award fees pursuant to § 1927, and Gable’s request for attorney fees is DENIED.




11
  Per Gable’s attorneys’ billing entries, the motion to dismiss took about 7 hours to complete.
(See Doc. 232-1, at 7–8.)

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               iv.      Defendants Ainsworth, Cardin, Garland, Rod Walker, and Seth
                        Walker

        Defendants Ainsworth, Cardin, Garland, Rod Walker, and Seth Walker move for attorney

fees under U.S.C. § 1988 and 28 U.S.C. § 1927. (Doc. 231, at 11–12.)

                     a. Defendant Brandon Ainsworth

        Defendant Ainsworth is entitled to fees under both § 1988 and § 1927. Ainsworth

prevailed in this matter, as the Court granted his motion for summary judgment as to Plaintiff’s

federal claims. (Doc. 212.) Additionally, Plaintiff’s claims against him were frivolous. As with

other Defendants, Plaintiff had no evidence Ainsworth ever “made any false and defamatory

statements about Whiting or directed or encouraged City employees to harass Whiting at the July

4 event.” (Doc. 162, at 11; see Doc. 160, at 16–21, 26.) Plaintiff never interacted with

Ainsworth at the Event. (Doc. 160, at 16, 26.) Plaintiff’s suit against Ainsworth was based upon

speculation that he participated in a conspiracy to deprive Plaintiff of his First Amendment

rights. However, as with the other Defendants that Plaintiff alleged participated in such

conspiracy, there is no evidence Defendant Ainsworth ever acted in such a way that remotely

suggests he engaged in a conspiracy. (See, e.g., id. at 27 (Ainsworth explaining that he told

others at the Event that Plaintiff had a right to be there and to “[c]alm it down and let this go.”).)

Thus, Plaintiff’s claims against Ainsworth were frivolous, and Plaintiff’s counsel unreasonably

multiplied the claims Ainsworth had to defend against by litigating this suit.12

        The fees Defendant Ainsworth requests are reasonable. The Court finds that the hourly

rate and time expended on the case are reasonable for these Defendants. They request fees


12
  The Court finds that Defendants who prevailed on summary judgment are distinguishable from
those dismissed at earlier stages of the case for the purposes of § 1927 because they had to
defend the case on the merits. This entails more effort and expense caused by Plaintiff and his
counsel’s unreasonable conduct.

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charged at $229 per hour. (Doc. 232.) Defendants state that this rate is “actually below the

prevailing rates in the community for complex civil rights litigation.” (Doc. 234, at 24.) The

Court agrees. See, e.g., Wimley, 2008 WL 5130162. Defendants’ attorneys have prior experience

with cases of this sort (see Doc. 232, at 2–3); the fee they request adequately accounts for this

experience.13 Ainsworth requests a total of $23,209.97, meaning his attorneys are charging for

about 101 hours (23,209.97/229 = 101.35). Ainsworth’s attorneys represented him for roughly a

year and half (see Docs. 1, 211), and during that time they (1) filed three dispositive motions (see

Docs. 17, 58, 161), (2) engaged in discovery, and (3) participated in extensive motions practice

for other various matters (see Doc. 232-1). The Court finds that 101 hours reasonably

corresponds to this amount of work. Defendant Ainsworth’s request for attorney fees is

GRANTED.

                   b. Defendant Deb Cardin

        Defendant Cardin is entitled to attorney fees under § 1988 and § 1927. Cardin prevailed

on summary judgment (Doc. 212), and Plaintiff’s claims against Cardin were frivolous. In his

complaint, Plaintiff alleged that Cardin yelled “don’t fucking video tape kids in the goddamned

park. Don’t let me catch you doing it again . . . Get the fuck out of here!” (Doc. 1, at 7; Doc. 31,

at 9.) However, Plaintiff later admitted that all allegations against Cardin in his complaint were

based on a misidentification, and that she did not make this statement. (See Doc. 120, at 5–6.)

Plaintiff admitted this on September 18, 2023, but declined to dismiss Cardin from the suit after.

(See id.; Doc. 211 (granting summary judgment to Cardin).) As with the other Defendants who




13
  The Court notes that all Defendants in Section C of this order are represented by attorneys Dan
Pilkington and Brian Bibb. Thus, each Defendant in Section C requests fees at a rate of $229 per
hour (see Doc. 232), and this analysis of the hourly rate applies throughout Section C.

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never should have been named in this suit, Plaintiff and his counsel unreasonably required

Cardin to defend this action. As such, she is entitled to fees under § 1988 and § 1927.

       The fees Defendant Cardin requests are reasonable. Her counsel billed at $229 per hour.

She requests $21,377.97, which corresponds to roughly 93 billed hours (21,377.97/229 = 93.35).

The amount of work her counsel completed in her defense largely tracks that of Defendant

Ainsworth, as they were dismissed from the suit at the same time. (See Doc. 211.) However, her

counsel only filed two dispositive motions on her behalf, rather than three. (See Docs. 118, 161.)

Her attorneys’ billing entries show that significant amounts of time were still dedicated to

discovery, and motions practice on various matters. (See Doc. 232-1.) Additionally, her counsel

devoted significant time to her arguments to summary judgment specifically. (See id. at 12

(showing 12.3 hours expended on Cardin’s summary judgment arguments).) The Court finds 93

hours reasonable for this work. Defendant Cardin’s request for attorney fees is GRANTED.

                   c. Defendant Tom Garland

       Defendant Garland is entitled to fees under § 1988 and § 1927. Garland prevailed on

summary judgment (Doc. 212), and Plaintiff’s First Amendment claims against Garland were

baseless. Garland interacted with Plaintiff at the Event, as he spoke with Plaintiff after

Defendant Seth Walker told him that Plaintiff was videoing children. (Doc. 162, at 10.) Garland

stated that “filming juveniles is not legal,” and then clarified this statement by explaining to

Plaintiff that people were upset that he was filming their children and that causing a disturbance

can be illegal in certain circumstances. (Id. at 9.) Garland then explained that filming itself is

not illegal. (Id.) Plaintiff offered the following description of his interaction with Garland:

“[Garland] explained that everything we are doing is legal . . . and he said just please don’t talk

to anybody if they yell at you. Just don’t talk to them. Just walk on by . . . . He was real polite.”



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(Doc. 211, at 4.) As the Court noted before, “Garland advised Whiting on how to continue

livestreaming without ‘creating a disturbance’” and “[n]o evidence even hints that anyone was

motivated to stop Whiting’s effort to ‘show the fact that [the Picnic] is wrong.’” (Id. at 15.)

There is no evidence that Garland deprived Plaintiff of his First Amendment rights. Garland is

entitled to fees under § 1988 and § 1927.

       The fees Defendant Garland requests are reasonable. His counsel billed at $229 per hour.

Garland requests a total of $18,790.27, meaning his attorneys charged for approximately 82

hours (18,790.27/229 = 82.05). Garland’s counsel accrued these hours over a year and a half.

(See Docs. 1, 211, 232-1.) As with Defendants Ainsworth and Cardin, his attorneys (1) engaged

in extensive discovery, (2) spent significant amounts of time meeting and conferring with the

parties to the suit, (3) engaged in motions practice on various issues, and (4) filed a motion for

summary judgment on his behalf. (See Docs. 211, 232-1.) These efforts reasonably correspond

to 82 billed hours. Defendant Garland’s request for attorney fees is GRANTED.

                   d. Defendant Rod Walker

       Defendant Rod Walker is not entitled to fees under § 1988. Plaintiff did not bring any

federal claims against Rod Walker (see Doc. 31, at 11; Doc. 162, at 13 n.14), and, therefore, he

cannot recover fees under § 1988. See Ash, 2013 WL 4777176 at *3.

       The Court also finds that an award of fees is not warranted under § 1927. The purpose of

awarding fees pursuant to § 1927 is to “deter and punish those who abuse the judicial process.”

Dean’s Cards, 2014 WL 3793575 at *2. Thus, the Court could still award Rod Walker fees upon

a finding that Plaintiff’s counsel’s conduct “unreasonably and vexatiously” multiplied the

proceedings he had to defend against. See § 1927. However, “[s]anctions under § 1927 are

discretionary.” Stephens v. Freeman-McCown, 198 F.3d 247 (Table) (6th Cir. 1999); Runfola &



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Assocs., Inc. v. Spectrum Reporting II, Inc., 88 F.3d 368, 375 (6th Cir. 1996) (explaining that “an

award under § 1927 is discretionary”). Here, the Court declines to impose sanctions against

Plaintiff’s counsel when the Court declined to exercise jurisdiction over Plaintiff’s state-law

claims. Plaintiff brought federal claims against all other Defendants recovering under § 1927

(see Doc. 1; Doc. 31, at 11–12),14 and the Court found those federal claims wholly lacking merit

(see Doc. 211). It made no such finding for the state-law claims. (See id.) Thus, the Court has

not found that any claims against Rod Walker are meritless. As such, the Court declines to award

fees under § 1927, and Defendant Rod Walker’s motion for fees is DENIED.

                   e. Defendant Seth Walker

        Defendant Seth Walker is entitled to fees under § 1988 and § 1927. He prevailed on

Plaintiff’s federal claim at summary judgment. (See Doc. 211.) Plaintiff claimed that Seth

Walker grabbed Plaintiff’s shoulder and held him in place while Rod Walker assaulted Plaintiff.

(Doc. 31, at 9.) This was Plaintiff’s sole allegation against Seth Walker. However, Plaintiff

admitted he harbored no concern that Seth Walker was going to strike him or hurt him. (See

Doc. 211, at 13; Doc. 160, at 22.) Seth Walker simply asked Plaintiff not to record his children.

(See Doc. 211, at 3, 15.) Again, Plaintiff’s First Amendment retaliation claim lacked any

evidence. Plaintiff’s counsel’s efforts to pursue this suit against Seth Walker unreasonably

multiplied the proceedings he had to defend against.

        The fees Defendant Seth Walker requests are reasonable. His attorneys billed at $229 per

hour. He requests $18,629.97 in fees (see Doc. 232, at 6), meaning they are charging for roughly

81 hours (18,629.97/229 = 81.34). Pilkington and Bibb’s work for Seth Walker was comparable


14
  Plaintiff initially brought federal claims against all Defendants, including Rod Walker (see
Doc. 1, at 9–10), and later limited his federal claims to certain Defendants in his amended
complaint (see Doc. 31, at 11–12).

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to their work for Garland, meaning they (1) engaged in extensive discovery, (2) spent significant

amounts of time meeting and conferring with the parties to the suit, (3) engaged in motions

practice on various issues, and (4) filed a motion for summary judgment on his behalf. (See

Docs. 211, 232-1.) The hours expensed to Garland and Seth Walker are nearly identical, and the

Court again finds that the billed hour amount is reasonable. Defendant Seth Walker’s motion for

fees is GRANTED.

               v.      The City of Athens

       The City moves for fees under § 1988 and § 1927. (Doc. 231, at 16.) Plaintiff brought

his First Amendment claim against the City under § 1983. (Doc. 31, at 11–12.) To hold a

municipality liable under § 1983, a plaintiff must show that his civil rights were violated “as a

direct result of a municipality’s policy or custom.” Blackmore v. Kalamazoo Cty., 390 F.3d 890,

900 (6th Cir. 2005). Plaintiff alleged that Defendants Sumner, Perkinson, and Ainsworth

instructed and encouraged City employees to harass, assault, and defame Plaintiff in retaliation

for his recording of the Event, and that this represented an official policy of the City. (See Doc.

31, at 14–15.) However, as this order makes clear, Plaintiff’s First Amendment claims are

devoid of supporting evidence. As such, there is nothing to suggest that the City adopted a

policy of retaliation against Plaintiff, and both Plaintiff and his counsel knew or should have

known this when filing suit. The City is entitled to fees under both § 1988 and § 1927.

       The fees the City requests are reasonable. Pilkington and Bibb charged the City $229 per

hour. The City requests $21,286.37 (see Doc. 232, at 5), meaning that its counsel billed for

almost 93 hours (21,286.37/229 = 92.95). In accruing these hours, the Pilkington and Bibb (1)

filed two dispositive motions (see Doc. 14, 161), (2) engaged in discovery and motions practice

relating to discovery (see, e.g., Docs. 130, 131), (3) conferred with the parties to the suit, and (4)



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engaged in motions practice on other various issues (see Doc. 232-1). Considering this, 93 hours

is a reasonable amount. The City’s motion for attorney fees is GRANTED.

           E. Rule 11 Sanctions

       Defendants Ainsworth, Cardin, and the City also move for sanctions and attorney fees

pursuant to Rule 11 of the Federal Rules of Civil Procedure. (See Doc. 233.) Rule 11 requires

that a party’s pleading or motion before the Court must be warranted under existing law and that

the factual contentions supporting the party’s position have evidentiary support. A party has a

duty to make a reasonable inquiry into the circumstances surrounding a case to ensure these

requirements are met. See Fed. R. Civ. P. 11(b). In this case, Plaintiff and his attorney failed to

make such inquiry into whether the suit had merit. They possessed video evidence of the actions

that gave rise to Plaintiff’s suit, yet they proceeded to ignore this evidence, name parties to the

suit whom Plaintiff never interacted with, and vexatiously force Defendants to contest this

unnecessary action. This falls short of Rule 11’s standards. See Ho Myung Moolsan Co. v.

Manitou Min. Water, Inc., 665 F. Supp. 2d 239, 264–65 (S.D.N.Y. 2009) (finding that the

plaintiffs violated Rule 11 when there was no factual basis for their claims but declining to

impose sanctions); Catcove Corp. v. Patrick Heaney, 685 F. Supp. 2d 328, 338 (E.D.N.Y. 2010)

(finding that the plaintiffs violated Rule 11 when they barely interacted with multiple

defendants).

       Defendants complied with the procedural requirements of Rule 11 when bringing their

motion. On January 24, 2023, they requested that Plaintiff’s counsel withdraw Plaintiff’s

complaint and informed him that they would be moving for Rule 11 sanctions should he fail to

do so. (See Doc. 233, at 17; Doc. 233-1.) On March 3, 2023, Defendants sent Plaintiff’s counsel

a follow-up letter reiterating their intent to file a motion for sanctions, and a draft motion was



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attached to the letter. (See Doc. 233, at 17; Doc. 233-2; Doc. 233-3.) Defendants provided

Plaintiff and his counsel with notice and a reasonable opportunity to respond, as they did not file

their motion with the Court until July 12, 2024. (See Doc. 233.) This is well over the twenty-

one-day period required by Rule 11(c). Further, Defendants filed their motion separate from any

other motion, and they identified the specific conduct that violated Rule 11. (See id.)

       However, the Court will not impose additional sanctions pursuant to Rule 11 here. A

sanction “must be limited to what suffices to deter repetition of the conduct or comparable

conduct by others similarly situated.” Fed. R. Civ. P. 11(c)(4). The decision to impose sanctions

lies squarely within the discretion of the Court. See Perez v. Posse Comitatus, 373 F.3d 321, 325

(2d Cir. 2004) (“[T]he decision whether or not to impose sanctions is a matter for the court’s

discretion.”); Merritt v. Int’l Ass’n of Machinists & Aerospace Workers, 613 F.3d 609, 626 (6th

Cir. 2010) (“The district court’s award of Rule 11 sanctions is reviewed for abuse of

discretion.”). Plaintiff and his attorney will be required to pay a meaningful sum of attorney fees

on the grounds described above, and the Court finds that this is sufficient to deter their behavior

moving forward. Accordingly, no additional sanctions will be imposed pursuant to Rule 11.

           F. Fee Reductions

       The Court finds that all attorney fees Defendants request are reasonable under a lodestar

analysis. The rates charged by the attorneys for Defendants are equivalent to or lower than rates

approved by the Court in similar cases. (See Doc. 221, at 8; Doc. 222-1, at 2; Doc. 232, at 3);

Wimley, 2008 WL 5130162. Further, all of Defendants’ attorneys have provided billing records

(see Docs. 220-2, 222-2, 232-1), and they have reduced their fee requests to account for the work

on Plaintiff’s federal claims and Plaintiff’s state-law claims. (See Doc. 264, at 1; Doc. 265, at 4–

6; Doc. 266, at 3–4.) Defendants’ attorneys also delineate the portion of fees incurred before Van



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Irion’s withdrawal as Plaintiff’s counsel. (See Doc. 265, at 6–8.) However, the Court will adjust

the fee awards sought for the following reasons.

        In response to Defendants’ supplemental briefing, Plaintiff takes issue with Defendants’

attorneys’ method for apportioning their fees between Plaintiff’s federal and state-law claims.

(See Doc. 276, at 17–19.) Specifically, Plaintiff argues that apportioning the fees by percentages

fails to meet the standard outlined in Fox v. Vice, 563 U.S. 826 (2011).15 (See Doc. 276, at 17–

19.) Plaintiff also asserts that Defendants improperly apportioned their fees among Plaintiff’s

federal and state-law claims, as he claims “that if attorney time would apply to EITHER the

state-law or federal claim, then that time cannot be reimbursed even for a ‘frivolous’ federal

claim, because it would have had to have been expended anyway.” (Id. at 20 (emphasis in

original).)

        The Court finds that Defendants have generally apportioned their fees in accordance with

Fox. “The essential goal in shifting fees (to either party) is to do rough justice, not to achieve

auditing perfection. So trial courts may take into account their overall sense of a suit, and may

use estimates in calculating and allocating an attorney’s time.” Fox, 563 U.S. at 838.

Defendants have advanced reasons explaining why more time was expended in defense of

Plaintiff’s federal claims than his state-law claims. Counsel for Defendants Perkinson and

Sumner assert that they spent more time working on Plaintiff’s federal claims because they could

have resulted “in a more significant monetary award” than Plaintiff’s state-law claims. (Doc.

277, at 3.) Pilkington explained that the increased complexity of defending against the federal

claims factored into his fee apportionment. (See Doc. 278, at 10.) These kinds of considerations



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  Fox provides that “Section 1988 allows a defendant to recover reasonable attorney’s fees
incurred because of, but only because of, a frivolous [§ 1983] claim.” 563 U.S. at 836.

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are in accord with Fox, and the Court sees no issue with a percentage reduction. See 563 U.S. at

837–38 (listing factors that may be considered in apportioning fees among frivolous and non-

frivolous claims); Howe v. City of Akron, 705 F. App’x 376, 383 (6th Cir. 2017) (affirming the

district court’s percentage reduction of a fee award). However, the Court finds that Defendants’

proposed reductions are not entirely in line with Fox.16

        Defendant Sliger’s apportionment of fees is the furthest from the requirements of Fox.

Sliger only seeks fees under § 1988. (See Doc. 264.) As with the other Defendants, Sliger’s

counsel did not apportion fees in accordance with Fox when initially moving for fees. (See Doc.

222; Doc. 263, at 2.) In Sliger’s supplemental briefing, his counsel only struck fees “clearly

applicable” to the defense against Plaintiff’s state-law claims. (See Doc. 264, at 1.) This is the

incorrect standard, and it resulted in less than a 10% reduction from Sliger’s counsel’s first

calculation. (See Doc. 222-1, at 2; Doc. 264-1, at 2.) In analyzing Sliger’s counsel’s time

entries, many appear as though they addressed both Plaintiff’s federal and state-law claims. (See

Doc. 222-1, at 1–2.) As a result, the Court will reduce the initial fee award Sliger requested.

        The Court also finds that a greater reduction than other Defendants propose is warranted.

All Defendants except Sliger applied a 40% reduction on the fees they requested under § 1988 to

account for the work that was attributable to Defendants’ state-law claims. (See Doc. 265, at 5;

Doc. 266, at 3–4.) While they have advanced valid reasons explaining why Plaintiff’s federal

claims were the focus of their work, much of the work appears applicable to Plaintiff’s state-law

claims as well. Defendants’ motions for summary judgment help demonstrate that Plaintiff’s

federal claims took a central role in the case, as more effort was spent in addressing these claims.


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  All Defendants except Sliger applied a 40% reduction on the fees they requested under § 1988
to account for the work that was attributable to Defendants’ state-law claims. (See Doc. 265, at
5; Doc. 266, at 3–4.)

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(See Docs. 162, 164, 168.) This likely affected legal research and drafting to a greater extent

than any efforts to discern the facts of the case. A large portion of the discovery and other work

dedicated to developing the facts would have applied to either the federal claims or state-law

claims. See Fox, 563 U.S. at 839 (suggesting that “fact-gathering activities” would apply to both

federal and state-law claims). The Court finds that work billed for fact-gathering activities along

with the other work dedicated to Plaintiff’s state-law claims accounts for more than 40% of the

total billed hours. Considering the billing records provided (see Docs. 220-2, 222-1, 232-1) and

the explanations for the reduction that Defendants’ attorneys offered, the Court finds that a 60%

reduction, rather than 40%, is appropriate here. This accurately accounts for the overlap between

the work applicable to both the federal and state-law claims, and, thus, ensures the dictates of

Fox are met. See 563 U.S. at 836 (“Section 1988 permits the defendant to receive only the

portion of his fees that he would not have paid but for the frivolous [federal] claim.”).

       The Court will also exercise its discretion and reduce any fee awards under § 1927 to

match the award under § 1988. The Court finds that the amounts granted under § 1988 will

suffice to deter Plaintiff’s counsel’s conduct in the future. As such, no award under § 1927 for

any Defendant will be greater than the award under § 1988.

       The Court will outline the fee awards below. Plaintiff is liable for all fees awarded under

§ 1988. Plaintiff’s former counsel, Van Irion, is liable for all fees awarded pursuant to § 1927.

Plaintiff and his former counsel will be jointly and severally liable for fee awards under which

both are responsible. When a defendant is entitled to recover under multiple statutes, the Court

will identify the statute associated with the fee amount and the total fee award to illustrate the

portion of the fee for which Plaintiff and his former counsel will be jointly and severally liable.

The awards are as follows:



                                                     29

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      Seth Sumner and Bo Perkinson: $21,155.60 under § 1988.

      Brandon Ainsworth: $9,283.70 under § 1988; $9,283.70 under § 1927; for a total of

       $9,283.70.

      Deb Cardin: $8,551.19 under § 1988; $8,551.19 under § 1927; for a total of $8,551.19.

      Tom Garland: $7,516.11 under § 1988; $7,516.11 under § 1927; for a total of $7,516.11.

      Seth Walker: $7,451.99 under § 1988; $7,451.99 under § 1927; for a total of $7,451.99.

      City of Athens: $8,514.55 under § 1988; $8,514.55 under § 1927; for a total of

       $8,514.55.

      Jamison Sliger: $3,890 under § 1988.

       IV.    CONCLUSION

       For the aforementioned reasons, Defendant Perkinson, Sumer, and Sliger’s motions for

attorney fees (Docs. 220, 222) are GRANTED. The remaining Defendants’ motion for attorney

fees (Doc. 231) is GRANTED IN PART and DENIED IN PART. Defendants’ motion for Rule

11 Sanctions (Doc. 233) is GRANTED but the Court declines to impose sanctions pursuant to

Rule 11. Plaintiff Glenn Whiting is hereby ORDERED to pay all attorney fees awarded

pursuant to 42 U.S.C. § 1988. Plaintiff’s former counsel, Van Irion, is hereby ORDERED to

pay all attorney fees awarded pursuant to 28 U.S.C. § 1927. Plaintiff and his former counsel

SHALL be held jointly and severally liable for any overlapping fee awards.

       SO ORDERED.

                                            /s/ Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE




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